Case: 1:02-cv-00074 Document #: 1 Filed: 01/03/02 Page 1 of 6 PagelD #:1

DG. “Tey
UNITED STATES DISTRICT COURT JAN 0 4 2002

NORTHERN DISTRICT OF ILLINOIS
EASTERN DIVISION

UNITED STATES OF AMERICA,

   

Plaintiff,

 

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JUDGE HART
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V.

LADONNA STRICKLAND and
MICHELLE STRICKLAND,

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MAGISTRATE JUDGE * ~
(SNS SCAT Berar
Defendants.

COMPLAINT S

Plaintiff, the United States of America, by PATRICK J. FITZGERALD, United Staies
Attorney for the Northern District of Illinois, brings this action for triple damages and civil pishalties:
under the False Claims Act, 31 U.S.C. § 3729, et seg. and in the alternative, for repayment under
theories of payment by mistake and unjust enrichment.

J urisdiction and Venue

1, This court has jurisdiction over this matter pursuant to 31 U.S.C. § 3730(a) and
28 U.S.C. § 1345. .

2. Venue is proper in the Northern District of Illinois pursuant to 31 U.S.C. § 3732(a),
28 U.S.C. § 1391, and 28 U.S.C, § 1395(a).

Parties

3. The plaintiff is the United States of America on behalf of the United States
Department of Education (“the Department’).

4. Defendants, LaDonna Strickland and Michelle Strickland, are domiciliaries of the

State of Hlinois and reside at 1490 Forest Avenue, Calumet City, Illinois 60409.

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Factual Background

5. The United States provides student financial assistance in the form ofPell Grants and
Supplemental Education Opportunity Grants (SEOG) to eligible students to help defray the costs
of their education following high school.

6. The Pell and SEOG Grant programs are authorized by the Higher Education Act,
Title IV, Part A. The Pell and SEOG Grant programs are administered by the Department and
provide federal monies to eligible post-secondary students in financial need.

7. To qualify for Pell and SEOG Grants, students must meet financial eligibility
requirements. The post-secondary institution determines a student’s eligibility for grants based on
the student’s financial need, which involves an evaluation of income. If a student has been
supported by his or her parents in the previous year, then the student is considered a dependent
student and the parents’ income for the previous year is used to determine financial need.

8. The post-secondary institution acts as the disbursement agent for the Department.

Pell and SEOG Grant funds received from the Department are credited to the student’s account and

applied against tuition costs by the post-secondary institution.

9. In 1994 and 1995, defendant Michelle Strickland was supported by her mother,
defendant LaDonna Strickland, and therefore was considered a dependent student.

10. In 1995-1996 and 1996-1997, to apply for student financial assistance for Michelie
Strickland, the defendants submitted a financial aid application to the government using false income
information. Based on the defendants’ false income information, Michelle Strickland received two

Pell Grants and two SEOGs.
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11. But for the defendants’ false statements and claims, defendant Michelle Strickland
would not have received student financial aid.

12. As aresult of the defendants’ actions, the government has been damaged in the
amount of $4,305.

Count I
False Claims Act — False Claims

13. Plaintiffrepeats and realleges each allegation set forth above in paragraphs 1 through
12 as if set forth fully herein.

14. _— By virtue of the acts described above, in 1995-1996 and 1996-1997, the defendants
knowingly presented, or caused others to present, to an officer, employee or agent of the United
States false or fraudulent claims to obtain payment or approval in violation of the False Claims Act,
31 U.S.C. §§ 3729-3733.

15. As used in this count, the term “knowingly” means that the persons, with respect to
information, (a) have actual knowledge of the information; (b) acts in deliberate ignorance of the
truth or falsity of the information; or (c) acts in reckless disregard of the truth or falsity of the
information.

16. ‘Plaintiff paid the false or fraudulent claims because of the acts of the defendants and, |
as a result, the United States has incurred actual damages in the amount of $4,305, exclusive of
interest and costs.

17. Pursuantto the False Claims Act, 31 U.S.C. §3729(a)(1), as amended, the defendants
may be liable to the United States under the treble damage and civil penalty provision of the False
Claims Act for a civil penalty of not less than $5,000 and not more than $10,000 for each of the false

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or fraudulent claims herein, plus three (3) times the amount of damages which the United States has
sustained because of the defendants’ actions.
Count II
Payment By Mistake

18.  Plaintiffrepeais and realleges each allegation set forth above in paragraphs 1 through
12 as if set forth fully herein.

19. Plaintiff made payments on the claims submitted by the defendants under the
erroneous belief that the claims for payment were based upon representations which were factually
accurate and which represented actual amounts of income.

20. Plaintiffs’ erroneous belief was material to the payments made by plaintiff to the
defendants.

21. Because ofthese mistakes of fact, the defendants have received monies to which they
are not entitled.

22. Byreason of the overpayments described above, plaintiff is entitled to damages in
the amount of at least $4,305.

Count HI
Unjust Enrichment

23.  Plaintiffrepeats and realleges each allegation set forth above in paragraphs 1 through
12 as if set forth fully herein,

24. Because of the defendants’ conduct, the defendants have been unjustly enriched with

federal monies which in good conscience they should not be allowed to retain.
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25. The defendants have been unjustly enriched to the detriment of the United States in

the amount of $4,305,
Claim For Relief

WHEREFORE, plaintiff, the United States of America demands judgment against the
defendants as follows:

(a) on Count I (False Claims), judgment against the defendants for treble the government’s
single damages of $4,305;

(b) on Count II (Payment by Mistake), judgment against the defendants for single damages,
pre- and post-judgment interest, and any such further relief as the court deems appropriate; and

(c) on Count TH (Unjust Enrichment), judgment against the defendants for single damages,

pre- and post-judgment interest, and any such further relief as the court deems appropriate.

Respectfully submitted,

PATRICK J. FITZGERALD
United States Attorney

GINA E. BROCK

Assistant United States Attorney
219 South Dearborn Street
Chicago, Illinois 60604

(312) 353-7919
Case: 1:02-cv-00074 Document #: 1 Filed: 01/03/02 Page 6 of 6 PagelD #:6 : a
CIVIL COVER SHEET”

The JS-44 civil cove informativipfontained herein neither replace nor supplement tne filing and service of pleadings or other papers as
required by law, except as provided by localTules of court. This form, approved by the Judicial Conference of the United States in September 1974, is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON THE REVERSE OF THE FORM.)

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UNITED STATES OF AMERICA é A TRICKL A
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County of Residence of First Listed
(IN U.S. PLAINTIFF CASES ONLY)

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(b) County of Residence of First Listed Plaintiff
(EXCEPT IN U.S, PLAINTIFF CASES)

 

 

Attorneys (if Known)

MaGisTRATE JUDdEDGE HART

GERALDINE SOAT BROWN

(¢) Attorney’S (Firm Name, Address, and Telephone Number)
Gina Brock, Assistant United States Attorney

United States Attorney's Office
219 S. Dearborn St., 5th Floor, Chicago, Illinois 60604
(312) 353-7919

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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Do not cite jurisdictional statutes unless diversity.)

False Claims Act, 31 U.S.C. § 3729, ef seq.

 

 

 

 

 

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COMPLAINT: UNDER F.R.C.P, 23 JURY DEMAND: “yes Ne
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01-03-2002 Senn Gina Brock, Assistant United States Attorney
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